EXHIBIT A
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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK

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Attorneys for Plaintiffs, Individually
and on behalf of all others similarly
situated

Hai Zhong Chen and Wei Dong
Cao, on behalf of themselves
and all other persons
similarly situated,                       DOCKET NO. 16-cv-2527

                 Plaintiffs,                     COMPLAINT

             - vs. –

Alin Sushi Inc., Rafael
Nazariodefigueroa, “John”
Lin, and John Does #1-10,

                 Defendants.



     Plaintiffs Hai Zhong Chen and Wei Dong Cao, by and

through their undersigned attorneys, for their complaint

against     defendants        Alin      Sushi      Inc.,      Rafael

Nazariodefigueroa, “John” Lin, and John Does #1-10, allege
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as follows, on behalf of themselves and on behalf of all

other persons similarly situated:

                         NATURE OF THE ACTION

        1.     Plaintiffs Hai Zhong Chen and Wei Dong Cao allege

on behalf of themselves and on behalf of other similarly

situated current and former employees of defendants Alin

Sushi Inc., Rafael Nazariodefigueroa, “John” Lin and John

Does #1-10, who elect to opt into this action pursuant to

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b),

that they are entitled to: (i) compensation for wages paid

at less than the statutory minimum wage, (ii) unpaid wages

from defendants for overtime work for which they did not

receive overtime premium pay as required by law, and (iii)

liquidated damages pursuant to the FLSA, 29 U.S.C. §§ 201

et seq., because defendants’ violations lacked a good faith

basis.

        2.     Mr. Chen and Mr. Cao further complain that they

are entitled to (i) compensation for wages paid at less

than     the   statutory    minimum       wage,   (ii)   back   wages   for

overtime work for which defendants willfully failed to pay

overtime premium pay as required by the New York Labor Law

§§ 650 et seq. and the supporting New York State Department

of Labor regulations, (iii) compensation for defendants’

violations of the “spread of hours” requirements of New


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York Labor Law, (iv) compensation for defendants’ violation

of   the    Wage    Theft    Prevention        Act,      (v)    compensation         for

unlawful deductions consisting of defendants’ failure to

reimburse them for their “tools of the trade,” and (vi)

liquidated damages pursuant to New York Labor Law for these

violations.

                                 THE PARTIES

      3.     Plaintiffs        Mr.   Chen         and    Mr.     Cao        are   adult

individuals residing in New York, New York.

      4.     Mr. Chen and Mr. Cao consent in writing to be

parties to this action pursuant to 29 U.S.C. § 216(b);

their written consents are attached hereto and incorporated

by reference.

      5.     Upon information and belief, defendant Alin Sushi

Inc. is a New York corporation with a principal place of

business at 55-59 Chrystie Street, New York, New York.

      6.     At all relevant times, defendant Alin Sushi has

been,      and     continues    to    be,         an     employer          engaged   in

interstate       commerce    and/or      the      production          of    goods    for

commerce     within    the     meaning       of    the       FLSA,    29    U.S.C.    §§

206(a) and 207(a).

      7.     Upon     information     and         belief,       at    all     relevant

times,     defendant     Alin    Sushi       has       had    gross    revenues       in

excess of $500,000.00, or the pro-rated equivalent.


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          8.    Upon   information       and    belief,       at    all     relevant

times      herein,     defendant       Alin    Sushi    has    used       goods     and

materials produced in interstate commerce, and has employed

at    least      two     individuals     who     handled       such    goods       and

materials.

          9.    Upon   information       and    belief,       at    all     relevant

times, defendant Alin Sushi has constituted an “enterprise”

as defined in the FLSA.

          10.   Upon   information       and    belief,       defendant          Rafael

Nazariodefigueroa is an owner or part owner and principal

of    Alin      Sushi,    who    has    the     power    to     hire       and     fire

employees,       set     wages   and    schedules,       and       maintain       their

records.

          11.   Defendant    Rafael     Nazariodefigueroa            was    involved

in the day-to-day operations of Alin Sushi and played an

active role in managing the business.

          12.   Upon information and belief, defendant “John” Lin

–    an    individual       whose   first      name     is    unknown       –     is   a

principal of Alin Sushi, who has the power to hire and fire

employees,       set     wages   and    schedules,       and       maintain       their

records.

          13.   Defendant “John” Lin was involved in the day-to-

day operations of Alin Sushi and played an active role in

managing the business.


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        14.    Upon information and belief, defendants John Does

#1-10     represent      the    other    owners,       officers,     directors,

members, and/or managing agents of the defendants, whose

identities are unknown at this time, who participated in

defendants’ day-to-day operations, who have the power to

hire     and    fire    employees,      set    wages    and   schedules,   and

retain        their    records,    and       who     constitute     “employers”

pursuant to the FLSA, New York Labor Law, and federal and

state implementing regulations.

        15.    Defendants constituted “employers” of plaintiffs

as that term is used in the Fair Labor Standards Act and

New York Labor Law.

                             JURISDICTION AND VENUE

        16.    This Court has subject matter jurisdiction over

this matter pursuant to 28 U.S.C. §§ 1331 and 1337 and

supplemental jurisdiction over plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.                 In addition, the Court has

jurisdiction          over     plaintiffs’         claims   under    the   FLSA

pursuant to 29 U.S.C. § 216(b).

        17.    Venue is proper in this district pursuant to 28

U.S.C. § 1391 because defendants’ business is located in

this district.




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                         COLLECTIVE ACTION ALLEGATIONS

       18.     Pursuant to 29 U.S.C. § 206 and § 207, plaintiffs

seek to prosecute their FLSA claims as a collective action

on behalf of all persons who are or were formerly employed

by defendants in the United States at any time since March

22,    2013,      to     the   entry     of       judgment      in       this    case    (the

“Collective Action Period”), who were non-exempt employees

within      the     meaning     of     the    FLSA,      and    who       were    not    paid

statutory         minimum      wages    and/or       overtime         compensation         at

rates not less than one-and-one-half times the regular rate

of    pay    for     hours     worked        in    excess      of    forty       hours    per

workweek (the “Collective Action Members”).

       19.     The       Collective       Action         Members          are    similarly

situated       to      plaintiffs       in    that       they       were    employed       by

defendants          as   non-exempt          restaurant         workers,         and     were

denied payment at the statutory minimum wage and/or were

denied premium overtime pay for hours worked beyond forty

hours in a week.

       20.     They      are    further           similarly         situated      in     that

defendants         had    a    policy    and       practice         of     knowingly     and

willfully         refusing      to      pay       them    the       minimum       wage     or

overtime.




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     21.   The exact number of such individuals is presently

unknown, but is known by defendants and can be ascertained

through appropriate discovery.

                                   FACTS

     22.   At all relevant times herein, defendants owned

and operated a sushi restaurant in New York.

     23.   Mr.     Chen     was    employed        by     defendants         from

approximately November 2015 through March 2016.

     24.   Mr. Cao was employed by defendants from roughly

November 2015 through March 2016.

     25.   Plaintiffs were employed as delivery people.

     26.   Plaintiffs’      work    was     performed         in   the   normal

course of defendants’ business and was integrated into the

business of defendants, and did not involve executive or

administrative responsibilities.

     27.   At    all   relevant     times    herein,          plaintiffs     were

employees engaged in commerce and/or in the production of

goods   for     commerce,    as    defined    in        the    FLSA   and     its

implementing regulations.

     28.   Mr.    Chen’s    regular      schedule       was     six   days    per

week, every day except Wednesday.                  Five days he worked

shifts lasting between 10½ and 12 hours per day, and the

sixth day he worked a half-day shift of 6 hours.




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       29.   As a result, and accounting for meal breaks that

he usually received, Mr. Chen worked roughly 57½ hours per

week each week of his employment with defendants.

       30.   Mr. Cao also had a regular schedule of six days

per week, with his day off being Tuesday.               Five days he

worked shifts lasting between 11 and 12 hours per day, and

the sixth day he worked a half-day shift of 7 hours.

       31.   As a result, and accounting for meal breaks that

he usually received, Mr. Cao also worked roughly 57½ hours

per week each week of his employment with defendants.

       32.   Defendants did not provide a time clock, sign in

sheet, or any other method for employees to track their

time worked.

       33.   Plaintiffs were paid fixed salaries of $1,300 per

month, with their pay not varying regardless of the precise

number of hours that they worked each month.

       34.   As a result, each plaintiff’s effective rate of

pay    was   always   below   the   statutory    federal   and   state

minimum wages in effect at relevant times.

       35.   In addition to their pay, plaintiffs generally

received tips for their work.

       36.   However,    defendants     never   provided   plaintiffs

with any notices regarding the “tip credit” and had no

agreement in place with them regarding a tip credit.


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       37.    Upon information and belief, defendants did not

keep accurate records of the tips received by plaintiffs.

       38.    Defendants’ failure to pay plaintiffs an amount

at least equal to the federal or New York state minimum

wages    in    effect      during    all        relevant        time    periods      was

willful, and lacked a good faith basis.

       39.    Mr.   Chen    was     paid       by    check      for    most    of    his

employment, and cash part of the time.

       40.    Mr. Cao was paid cash throughout his employment.

       41.    Plaintiffs         received           no      paystubs      or        wage

statements      with      their     pay;       the       checks   that    Mr.       Chen

received      for   his    pay    were     business         checks      rather      than

payroll checks.

       42.    In addition, defendants failed to pay plaintiffs

any overtime “bonus” for hours worked beyond 40 hours in a

workweek, in violation of the FLSA, the New York Labor Law,

and   the     supporting     New     York       State      Department      of    Labor

regulations.

       43.    Defendants’         failure           to    pay     plaintiffs         the

overtime bonus for overtime hours worked was willful, and

lacked a good faith basis.

       44.    Plaintiffs      worked       five          shifts   per    week       that

lasted in excess of ten hours from start to finish, yet

defendants      willfully        failed        to   pay    them    one    additional


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hour’s    pay    at   the     minimum    wage     for   each     such    day    they

worked shifts lasting longer than ten hours, in violation

of the New York Labor Law and the supporting New York State

Department of Labor regulations.

       45.     Defendants      failed    to      provide        plaintiffs      with

written notices providing the information required by the

Wage     Theft     Prevention      Act       –    including,       inter       alia,

defendants’ contact information, their regular and overtime

rates,    and    intended      allowances        claimed    –    and    failed    to

obtain their signatures acknowledging the same, upon their

hiring or at any time thereafter, in violation of the Wage

Theft Prevention Act in effect at the time.

       46.     Defendants      failed    to      provide        plaintiffs      with

weekly records of their compensation and hours worked, in

violation of the Wage Theft Prevention Act.

       47.     In addition, plaintiffs were required to supply

their own vehicles – electric mopeds – for the purpose of

making deliveries.

       48.     However,     although     plaintiffs        incurred       expenses

for    operating      these    mopeds,       defendants     never       reimbursed

plaintiffs for those expenses.

       49.     Upon   information        and      belief,       throughout       the

period    of    plaintiffs’      employment,       both     before      that    time

(throughout the Collective Action Period) and continuing


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until    today,    defendants         have     likewise     employed         other

individuals like plaintiffs (the Collective Action Members)

in positions at defendants’ restaurant that required little

skill,    no   capital         investment,       and    with      duties      and

responsibilities        that    did     not     include     any    managerial

responsibilities or the exercise of independent judgment.

    50.    Upon        information       and     belief,       these         other

individuals have worked in excess of forty hours per week,

yet defendants have likewise failed to pay them (1) the

minimum wage, or (2) overtime compensation of one-and-one-

half times their regular hourly rate in violation of the

FLSA and the New York Labor Law.

    51.    Upon        information       and     belief,       these         other

individuals were not paid a “spread of hours” premium on

days when they worked shifts lasting in excess of ten hours

from start to finish.

    52.    Defendants          violated        the     frequency        of     pay

requirements      of    New    York    Labor     Law    §   191    by    paying

plaintiffs and these other individuals monthly.

    53.    Defendants’ policy of paying plaintiffs and these

other individuals on a monthly basis rather than on an

hourly basis violated 12 N.Y.C.R.R. § 146-2.5.




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       54.    Upon     information       and      belief,     these       other

individuals also incurred expenses for their “tools of the

trade” that were not reimbursed by defendants.

       55.    Upon     information       and      belief,     these       other

individuals were not provided with required wage notices or

accurate weekly wage statements as specified in New York

Labor Law §§ 195.1, 195.3, and the Wage Theft Prevention

Act.

       56.    Upon    information      and    belief,    while     defendants

employed plaintiffs and the Collective Action members, and

through      all   relevant   time     periods,      defendants    failed    to

maintain accurate and sufficient time records or provide

accurate records to employees, and failed to post or keep

posted a notice explaining the minimum wage and overtime

pay rights provided by the FLSA or New York Labor Law.

                                   COUNT I

             (Fair Labor Standards Act – Minimum Wage)

       57.    Plaintiffs,     on     behalf     of    themselves    and     all

Collective         Action     Members,         repeat,      reallege,       and

incorporate by reference the foregoing allegations as if

set forth fully and again herein.

       58.    At     all    relevant    times,        defendants    employed

plaintiffs     and    the   Collective       Action    Members    within    the

meaning of the FLSA.


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       59.   Defendants failed to pay a salary greater than

the minimum wage to plaintiffs and the Collective Action

Members for all hours worked.

       60.   As    a    result     of    defendants’      willful        failure    to

compensate plaintiffs and the Collective Action Members at

a rate at least equal to the federal minimum wage for each

hour   worked,         defendants       have    violated,     and    continue       to

violate, the FLSA, 29 U.S.C. §§ 201 et seq., including 29

U.S.C. §§ 206.

       61.   The foregoing conduct, as alleged, constituted a

willful violation of the FLSA within the                           meaning of 29

U.S.C. § 255(a), and lacked a good faith basis within the

meaning of 29 U.S.C. § 260.

       62.   Due       to   defendants’        FLSA    violations,       plaintiffs

and the Collective Action Members are entitled to recover

from defendants their unpaid compensation plus liquidated

damages,     reasonable            attorneys’         fees,   and        costs     and

disbursements          of   this    action,      pursuant     to    29    U.S.C.    §

216(b).

                                     COUNT II

                  (New York Labor Law – Minimum Wage)

       63.   Plaintiffs repeat, reallege, and incorporate by

reference the foregoing allegations as if set forth fully

and again herein.


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      64.   At all relevant times, plaintiffs were employed

by defendants within the meaning of the New York Labor Law,

§§ 2 and 651.

      65.   Defendants willfully violated plaintiffs’ rights

by   failing    to   pay   them    compensation       in   excess    of   the

statutory minimum wage in violation of the New York Labor

Law §§ 190-199, 652 and their regulations.

      66.   Defendants’ failure to pay compensation in excess

of the statutory minimum wage was willful, and lacked a

good faith basis, within the meaning of New York Labor Law

§ 198, § 663 and supporting regulations.

      67.   Due to defendants’ New York Labor Law violations,

plaintiffs are entitled to recover from defendants their

unpaid      compensation,         liquidated      damages,       interest,

reasonable attorneys’ fees, and costs and disbursements of

the action, pursuant to New York Labor Law § 198, and §

663(1).

                                 COUNT III

               (Fair Labor Standards Act - Overtime)

      68.   Plaintiffs,     on     behalf    of   themselves        and   all

Collective      Action      Members,        repeat,        reallege,      and

incorporate by reference the foregoing allegations as if

set forth fully and again herein.




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       69.    At     all       relevant         times,     defendants    employed

plaintiffs and each of the Collective Action Members within

the meaning of the FLSA.

       70.    At all relevant times, defendants had a policy

and practice of refusing to pay overtime compensation to

their employees for hours they worked in excess of forty

hours per workweek.

       71.    As    a    result      of   defendants’       willful    failure   to

compensate their employees, including plaintiffs and the

Collective Action Members, at a rate at least one-and-one-

half times the regular rate of pay for work performed in

excess       of    forty      hours       per    workweek,     defendants     have

violated, and continue to violate, the FLSA, 29 U.S.C. §§

201 et seq., including 29 U.S.C. §§ 207(a)(1) and 215(a).

       72.    The foregoing conduct, as alleged, constituted a

willful violation of the FLSA within the meaning of 29

U.S.C. § 255(a), and lacked a good faith basis within the

meaning of 29 U.S.C. § 260.

       73.    Due       to   defendants’        FLSA     violations,    plaintiffs

and the Collective Action Members are entitled to recover

from   defendants            their    unpaid      overtime    compensation,      an

additional equal amount as liquidated damages, interest,

reasonable attorneys’ fees, and costs and disbursements of

this action, pursuant to 29 U.S.C. § 216(b).


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                             COUNT IV

                (New York Labor Law - Overtime)

    74.   Plaintiffs repeat, reallege, and incorporate by

reference the foregoing allegations as if set forth fully

and again herein.

    75.   At all relevant times, plaintiffs were employed

by defendants within the meaning of the New York Labor Law,

§§ 2 and 651.

    76.   Defendants willfully violated plaintiffs’ rights

by failing to pay them overtime compensation at rates not

less than one-and-one-half times the regular rate of pay

for each hour worked in excess of forty hours per workweek

in violation of the New York Labor Law §§ 650 et seq. and

its supporting regulations in 12 N.Y.C.R.R. § 146.

    77.   Defendants’ failure to pay overtime was willful,

and lacked a good faith basis, within the meaning of New

York Labor Law § 198, § 663 and supporting regulations.

    78.   Due to defendants’ New York Labor Law violations,

plaintiffs are entitled to recover from defendants their

unpaid overtime compensation, liquidated damages, interest,

reasonable attorneys’ fees, and costs and disbursements of

the action, pursuant to New York Labor Law § 198, and §

663(1).




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                                COUNT V

              (New York Labor Law – Spread of Hours)

       79.   Plaintiffs repeat, reallege, and incorporate by

reference the foregoing allegations as if set forth fully

and again herein.

       80.   At all relevant times, plaintiffs were employed

by defendants within the meaning of the New York Labor Law,

§§ 2 and 651.

       81.   Defendants willfully violated plaintiffs’ rights

by failing to pay them an additional hour’s pay at the

minimum wage for each day they worked more than ten hours,

in violation of the New York Labor Law §§ 650 et seq. and

its regulations in 12 N.Y.C.R.R. § 146-1.6.

       82.   Defendants’ failure to pay the “spread of hours”

premium was willful, and lacked a good faith basis, within

the    meaning    of   New   York   Labor   Law   §   198,   §    663   and

supporting regulations.

       83.   Due to defendants’ New York Labor Law violations,

plaintiffs are entitled to recover from defendants their

unpaid       compensation,      liquidated        damages,       interest,

reasonable attorneys’ fees, and costs and disbursements of

the action, pursuant to New York Labor Law § 198, and §

663(1).




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                               COUNT VI

          (New York Labor Law – Unlawful deductions)

    84.    Plaintiffs repeat, reallege, and incorporate by

reference the foregoing allegations as if set forth fully

and again herein.

    85.    At all relevant times, plaintiffs were employed

by defendants within the meaning of the New York Labor Law,

§§ 2 and 651.

    86.    Plaintiffs       were    required     to      incur     various

expenses on behalf of defendants in the course of their

employment.

    87.    Defendants    failed     to   reimburse       plaintiffs    for

these expenses.

    88.    These failures to reimburse plaintiffs constitute

de facto deductions from wages.

    89.    These    de   facto     deductions     were    not    for   the

benefit   of   plaintiffs    and   are   not    among    the    legitimate

deductions authorized by New York Labor Law § 193.

    90.    Moreover,     these     unreimbursed       expenses     brought

plaintiffs’ wages below the minimum wage, in violation of

12 N.Y.C.R.R. § 146-2.7(c).

    91.    As a result, defendants have violated New York

Labor Law.




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      92.   These violations were willful, and lacked a good

faith basis, within the meaning of New York Labor Law §

198, § 663 and supporting regulations.

      93.   Due to defendants’ New York Labor Law violations,

plaintiffs       are     entitled    to      recover     from        defendants

compensation      for    these    unreimbursed    expenses,          liquidated

damages, interest, reasonable attorneys’ fees, and costs

and disbursements of the action.

                                  COUNT VII

        (New York Labor Law – Wage Theft Prevention Act)

      94.   Plaintiffs repeat, reallege, and incorporate by

reference the foregoing allegations as if set forth fully

and again herein.

      95.   At all relevant times, plaintiffs were employed

by defendants within the meaning of the New York Labor Law,

§§ 2 and 651.

      96.   Defendants willfully violated plaintiffs’ rights

by failing to provide them with the wage notices required

by the Wage Theft Prevention Act when they were hired, or

at any time thereafter.

      97.   Defendants willfully violated plaintiffs’ rights

by   failing     to    provide   them    with   weekly    wage       statements

required    by    the    Wage    Theft   Prevention      Act    at    any   time

during their employment.


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       98.     Due to defendants’ New York Labor Law violations

relating to the failure to provide paystubs, plaintiffs are

entitled to recover from the defendants statutory damages

of $250 per day through the end of their employment, up to

the maximum statutory damages.

       99.     Due to defendants’ New York Labor Law violations

relating to the failure to provide wage notices, plaintiffs

are    entitled    to    recover   from    the     defendants     statutory

damages of $50 per day through the end of their employment,

up to the maximum statutory damages.

                           PRAYER FOR RELIEF

       WHEREFORE, plaintiffs respectfully request that this

Court grant the following relief:

          a.    Designation   of   this        action    as   a   collective

                action   on   behalf      of    the     Collective   Action

                Members and prompt issuance of notice pursuant

                to 29 U.S.C. § 216(b) to all similarly situated

                members of an FLSA Opt-In Class, apprising them

                of the pendency of this action, permitting them

                to assert timely FLSA claims in this action by

                filing individual Consents to Sue pursuant to 29

                U.S.C. § 216(b), and appointing plaintiffs and




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         their counsel to represent the Collective Action

         members;

    b.   A    declaratory     judgment         that   the       practices

         complained of herein are unlawful under the FLSA

         and the New York Labor Law;

    c.   An   injunction     against          defendants    and     their

         officers,        agents,       successors,         employees,

         representatives, and any and all persons acting

         in concert with them, as provided by law, from

         engaging    in    each    of   the     unlawful    practices,

         policies, and patterns set forth herein;

    d.   A compensatory award of unpaid compensation, at

         the statutory overtime rate, due under the FLSA

         and the New York Labor Law;

    e.   Compensatory      damages      for    failure     to    pay   the

         minimum wage pursuant to the FLSA and New York

         Labor Law;

    f.   An award of liquidated damages as a result of

         defendants’ willful failure to pay the statutory

         minimum wage and overtime compensation pursuant

         to 29 U.S.C. § 216;




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         g.   Compensatory      damages     for     failure   to    pay     the

              “spread of hours” premiums required by New York

              Labor Law;

         h.   Compensation          for     monies       deducted         from

              plaintiffs’      pay   via    unreimbursed      expenses      in

              violation of New York Labor Law;

         i.   Liquidated       damages     for     defendants’     New    York

              Labor Law violations;

         j.   Statutory damages for defendants’ violation of

              the New York Wage Theft Prevention Act;

         k.   Back pay;

         l.   Punitive damages;

         m.   An     award     of    prejudgment       and    postjudgment

              interest;

         n.   An award of costs and expenses of this action

              together with reasonable attorneys’ and expert

              fees; and

         o.   Such    other,    further,     and    different      relief   as

              this Court deems just and proper.



Dated:   March 22, 2016




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                         ____________________________
                         David Stein
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